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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Heather Rooks,                                   No. CV-23-02028-PHX-MTL
10                  Plaintiff,                         ORDER
11    v.
12    Peoria Unified School District,
13                  Defendant.
14
15          Before the Court is Plaintiff Heather Rooks’s Motion for Summary Judgment (Doc.
16   34) and Defendant Peoria Unified School District’s Cross-Motion for Summary Judgment
17   (Doc. 38). The Motions are fully briefed (Docs. 34, 37, 38, 41, 45.) The Court held oral
18   argument on January 10, 2025. For the reasons listed below, the Court will deny Heather
19   Rooks’s Motion for Summary Judgment and grant Peoria Unified School District’s
20   Cross-Motion for Summary Judgment.
21   I.     BACKGROUND
22          Defendant Peoria Unified School District (“PUSD”) is an Arizona public school
23   district in the greater Phoenix-metro area. (Doc. 1 ¶ 12; Doc. 13 ¶ 12.) PUSD is governed
24   by the Peoria Unified School District Governing Board (the “Board”), consisting of five
25   members. (See Doc. 1 ¶ 12; Doc. 13 ¶ 12; Doc. 38 at 4.) Each member is elected to a
26   four-year term, serves without compensation, and is “elected in conjunction with state and
27   federal elections every two years.” (Doc. 1 ¶ 12; Doc. 13 ¶ 12.)
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 1          The Board itself does not educate or teach any students, nor does it manage the
 2   day-to-day operations of any schools. (Doc. 1 ¶ 12; Doc. 13 ¶ 12.) Instead, the Board “is
 3   authorized under the laws of the state of Arizona to adopt all needed policies and
 4   regulations for the organization, evaluation, and governance [of PUSD].” (See Doc. 34 at
 5   2; Doc. 38-8 at 7.)
 6          The Board holds public meetings where it “vote[s] on various issues relating to
 7   school policy, evaluate[s] budgets, answer[s] questions, and listen[s] to concerns from the
 8   community.” (Doc. 1 ¶¶ 15-16; Doc. 13 ¶¶ 15-16.) “All powers of the Board lie in its action
 9   as a public body.” (Doc. 38-8 at 8.) So all board meetings, other than an executive session,
10   are open to the public. (Doc. 1 ¶¶ 15-16; Doc. 13 ¶¶ 15-16.) Board meetings include a time
11   for “board comments.” (Doc. 1 ¶ 18; Doc. 13 ¶ 18.) During board comments, members of
12   the Board “make remarks without listing the contents of their remarks on the official
13   meeting agenda.” (See Doc. 1 ¶ 18; Doc. 13 ¶ 18.)
14          Plaintiff Heather Rooks was elected to the Board in November 2022. (Doc. 1 ¶ 14,
15   Doc. 13 ¶ 14.) She began her term in January 2023. (Doc. 1 ¶ 14, Doc. 13 ¶ 14.) At her first
16   board meeting, Rooks ended her board comments by reciting Joshua 1:9, “Have I not
17   commanded you? Be strong and courageous. Do not be afraid; do not be discouraged, for
18   the Lord your God will be with you wherever you go.” Peoria Unified Governing Board
19   Meeting       (January       12,      2023),      YouTube        (Jan.      12,      2023),
20   https://www.youtube.com/live/YLeUNYWgeWM?t=1597s (beginning at 27:35).1 At her
21   second meeting, Rooks opened her board comments by reciting Isaiah 41:10, “So do not
22   fear, for I am with you; do not be dismayed, for I am your God, and I will strengthen and
23   help you, and I will uphold you with my righteousness.” Peoria Unified Governing Board
24   Meeting       (February       9,      2023),      YouTube         (Feb.      9,      2023),
25   https://www.youtube.com/live/S31wCFpPaH8?t=1982s (beginning at 33:02).
26          The scripture readings prompted a complaint from Secular Communities of Arizona,
27   Inc. (Doc. 34 Ex. 2.) The complaint was addressed to the entire Board and claimed Rooks
28   1
       The Parties have stipulated to the authenticity of PUSD’s Governing Board meeting
     videos on PUSD’s YouTube channel. (Doc. 15 ¶ 4; Doc. 21 at 9-10.)

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 1   was violating the Establishment Clause of the First Amendment by reciting Bible verses at
 2   board meetings. (See id. at 47, 50.) It requested the Board immediately refrain from reading
 3   scripture during meetings and for “[b]oard members [to] cease using their public position
 4   to preach their private religious beliefs.” (See id. at 50.)
 5          After receiving the complaint, a board member consulted with the Board’s attorney
 6   “on the legalities of reading [s]cripture at board meetings.” (See Doc. 34 Ex. 5.) That
 7   consultation resulted in an email from the Board’s executive assistant, which provided “a
 8   summary of the attorney’s guidance” to all board members. (See id. at 61.) The attorney
 9   advised “a board member acting in their role as such, should not read Scripture during a
10   board meeting, as it violates the Establishment Clause,” and “the First Amendment is not
11   applicable in this situation, as [a board member] is speaking as a member of the public
12   governing body, not [as] an individual.” (Id.) Legal counsel further advised board
13   comments are meant “for a brief summary of current events as it relates to service as a
14   board member.” (Id.) Anything beyond this “could be a violation of the Open Meeting
15   Law.” (Id.)
16          A day after the email, Rooks recited Proverbs 22:6 during her board comments.
17   Peoria Unified Governing Board Meeting (February 23, 2023), YouTube (Feb. 23, 2023),
18   https://www.youtube.com/live/QuOgJGSNK8c?t=6844s (beginning at 1:54:04). Two
19   weeks later, she recited 1 Corinthians 16:13. Peoria Unified Governing Board Meeting
20   (March           9,        2023),          YouTube             (Mar.      13,        2023),
21   https://www.youtube.com/watch?v=cWZa8l153M8&t=5185s (beginning at 1:26:25).
22          Rooks was not interrupted while reading 1 Corinthians 16:13. After reading the
23   verse, Rooks thanked students and staff from a recent school visits, id. (beginning at
24   1:26:34), and she congratulated a high school basketball team for winning the state
25   championship, id. (beginning at 1:27:18). Rooks then acknowledged a student who
26   reported a teacher for wrongdoing, id. (beginning at 1:27:36), and began discussing her
27   research on a 2019 initiative to bring social workers into PUSD schools, id. (beginning at
28   1:27:52).


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 1             Rooks explained her research centered around a mental health grant PUSD was
 2   awarded in 2019—three years before the current board meeting. See id. The grant was
 3   supposed to pay for social workers to come into PUSD schools. See id. But Rooks
 4   explained her research revealed students were surveyed on their social and emotional
 5   learning needs in connection with the grant. See id. As a mother whose children were
 6   enrolled with PUSD in 2019, Rooks drew issue with the survey because students
 7   participated in it without parent approval. See id.
 8             Following this statement, Rooks was interrupted by the Board’s president (the
 9   “Board President”). Id. (beginning at 1:28:44). The Board President apologized for the
10   interruption but made a point of order concerning Rooks’s statements on the mental health
11   grant. See id. The Board President said, “each one of us has received an email from legal
12   around discussing items that aren’t on the agenda during board comments and how doing
13   so goes against open meeting laws.” Id. The Board President then continued, “[w]e were
14   also told that reciting scripture at a board meeting on this side of the dais goes against the
15   Establishment Clause . . . . We were directed by legal on this, so it is important that I bring
16   it up, so I just needed to make that comment.” Id. Several members of the audience began
17   to express their disapproval over the interruption. Id. (beginning at 1:29:57). The Board
18   President then ceded the floor back to Rooks, and she continued with her board comments.
19   See id.
20             Rooks responded to the interruption by saying board comments can relate to the
21   “service” of a board member, implying she thought the topic was appropriate. Id.
22   (beginning at 1:30:47). Yet she ended her comments without further discussion. Id.
23             Rooks read scripture at the next four board meetings, taking place on April 13, April
24   27, May 11, and May 22. Her readings were not interrupted. In fact, another board member
25   also recited scripture at the May 11, 2023, meeting. Peoria Unified Governing Board
26   Meeting (May 22, 2023), YouTube (May 22, 2023), https://www.youtube.com/live/IV-cJi-
27   1270?t=1364s (beginning at 22:44). Rooks, however, was interrupted by the Board
28   President while discussing a school safety grant during her board comments at the April


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 1   13, 2023, meeting. Peoria Unified Governing Board Meeting (April 13, 2023), YouTube
 2   (Apr. 13, 2023), https://www.youtube.com/live/aObq4-dlyZI?t=2610s (beginning at
 3   45:55). The Board President reminded Rooks of “the importance of staying within our open
 4   meeting law governance.” Id.
 5          After the May 22 meeting, the Board received another complaint—this time from
 6   the Freedom from Religion Foundation. (Doc. 34 Ex. 3.) The complaint requested PUSD
 7   “take appropriate action to stop board members from using their government positions to
 8   promote their personal religious beliefs.” (Id. at 53.) And for the Board to “take whatever
 9   action necessary to ensure that [Rooks] and all other members of the Board respect the
10   constitutional rights of the [PUSD] community” by refraining from reciting Bible verses at
11   meetings. (Id. at 54.) The complaint warned reciting scripture was unconstitutional under
12   the Establishment Clause, and failure to stop Rooks and the other board member would
13   subject PUSD “to unnecessary liability and potential financial strain” because “statements
14   of school board members are attributable to the district.” (See id. at 54-55.) By way of
15   example, the complaint stated the Freedom from Religion Foundation had previously
16   “secured a court order against a California school district regarding its school board
17   prayers,” resulting in the school district needing to pay more than $275,000 in attorneys’
18   fees and costs. (See id. at 54.)
19          Rooks recited scripture two more times at the June 8 and June 22 board meetings.
20   She was not interrupted during either recital. But the Freedom from Religion Foundation
21   did send another complaint after the June 22 meeting. (Doc. 34 Ex. 4.) The complaint again
22   warned Rooks’s conduct was unconstitutional. (See id. at 58.) It asked the Board “to
23   censure any school board members who abuse their position by pushing their personal
24   religious beliefs during board meetings.” (Id.)
25          About two weeks after the Freedom from Religion Foundation sent its second
26   complaint, the Board received an email from its attorney titled “ATTORNEY CLIENT
27   PRIVILEGED COMMUNICATION: Freedom from Religion Foundation Letter.” (See
28   Doc. 34 at 10-11, Ex. 6.) Counsel reiterated PUSD has now received several


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 1   communications from entities threatening further legal action “if board members do not
 2   stop offering bible verses.” (Id. at 64.) The threatened action was described as entities
 3   “filing a lawsuit against [PUSD] for violating the First Amendment or filing an open
 4   meeting law complaint against any board member who recites [B]ible verses.” (Id.)
 5          The Board’s attorney next provided an interpretation of the law. The attorney said
 6   “[t]he law is clear that [b]oard members, acting in their official capacities at [b]oard
 7   meetings, may not pray or offer [B]ible verses at [b]oard meetings because it is a violation”
 8   of Arizona law and the Establishment Clause. (See id. at 64-65.) Counsel warned “[t]he
 9   risk to [PUSD] and to individual board members if board members continue to recite
10   [B]ible verses is twofold.” (Id. at 65.) First, the Freedom from Religion Foundation,
11   Secular Communities of Arizona, Inc., “or individual community members could sue
12   [PUSD] for violating the First Amendment.” (Id.) If a lawsuit occurred, counsel predicted
13   PUSD would likely “incur significant legal expenses in defending itself,” as well as over
14   $100,000 in attorney’s fees for the plaintiff if PUSD lost, which counsel predicted was
15   likely. (Id.)
16          Next, the Board’s attorney warned continuing to recite Bible verses could result in
17   the Arizona Attorney General pursuing “an open meeting law complaint . . . against both
18   [PUSD] as a whole and any individual board member who violated the open meeting law.”
19   (Id.) Counsel explained a successful complaint against a board member could “result in
20   fines . . . and, in some cases, a lawsuit to remove a board member from office.” (Id.) The
21   email concluded with counsel advising “it would be in the best interest of [PUSD] to cease
22   offering [B]ible verses at [b]oard meetings.” (Id.)
23          A day after the email, at the July 13, 2023, meeting, Rooks began her board
24   comments by stating: “I received a letter from [PUSD] directing me to stop reciting Bible
25   verses during school board meetings” because PUSD “asserts that doing so violates the
26   Establishment Clause of the First Amendment.”2 See Peoria Unified Governing Board
27   Meeting         (July     13,       2023),          YouTube      (July      13,       2023),
28   2
       Rooks’s mention of “a letter” at her July 13, 2023, board comments refers to the email
     sent by the Board’s attorney. (See Doc. 41 at 9-12.)

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 1   https://www.youtube.com/live/VxZ0MGCPcSc?t=2986s (beginning at 49:46). Rooks
 2   continued “based upon [PUSD’s direction], I will refrain from reciting Bible verses at this
 3   time.” See id.
 4          Rooks brought this lawsuit after the July 13, 2023, meeting. It alleges two claims
 5   under the Declaratory Judgment Act and four claims under the federal Constitution,
 6   Arizona Constitution, and Arizona’s Free Exercise of Religion Act. (See generally Doc.
 7   1.) Rooks and PUSD agreed to fast-track the pleading stages and discovery. (See Doc. 15
 8   at 2-3; Doc. 21 ¶¶ 14-15.) Their agreement limited the scope of discovery to board meeting
 9   videos posted on PUSD’s YouTube channel, board meeting agendas and minutes posted
10   on PUSD’s website, five interrogatories, and ten requests for admission. (See Doc. 15
11   ¶¶ 4-5, ¶¶ 7-8; Doc. 21 ¶ 14.) The Parties also agreed not to take any depositions. (See Doc.
12   15 ¶ 9; Doc. 21 ¶ 14(c).) Now, they each have motions for summary judgment pending
13   before the Court. (Docs. 34, 38.)
14   II.    LEGAL STANDARD
15          Summary judgment is appropriate when the evidence, viewed in the light most
16   favorable to the non-moving party, demonstrates “that there is no genuine dispute as to
17   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
18   P. 56(a). A genuine issue of material fact exists when “the evidence is such that a
19   reasonable jury could return a verdict for the nonmoving party,” and material facts are
20   those “that might affect the outcome of the suit under the governing law.” Anderson v.
21   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). At the summary judgment stage, “[t]he
22   evidence of the non-movant is to be believed, and all justifiable inferences are to be
23   drawn in his favor.” Id. at 255 (citations omitted); see also Jesinger v. Nev. Fed. Credit
24   Union, 24 F.3d 1127, 1131 (9th Cir. 1994) (holding that the court determines whether
25   there is a genuine issue for trial but does not weigh the evidence or determine the truth
26   of matters asserted).
27          Where, as here, the “parties submit cross-motions for summary judgment, each
28   motion must be considered on its own merits.” Fair Hous. Council of Riverside Cnty. Inc.


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 1   v. Riverside Two, 249 F.3d 1132, 1136 (9th Cir. 2001) (citations and internal quotations
 2   omitted). The summary judgment standard operates differently depending on whether
 3   the moving or non-moving party has the burden of proof. See Celotex Corp. v. Catrett,
 4   477 U.S. 317, 322-23 (1986). When the movant bears the burden of proof on a claim at
 5   trial, the movant “must establish beyond controversy every essential element” of the
 6   claim based on the undisputed material facts to be entitled to summary judgment. S. Cal.
 7   Gas Co. v. City of Santa Ana, 336 F.3d 885, 888 (9th Cir. 2003) (citation omitted). If,
 8   however, the movant fails to make this showing, summary judgment is inappropriate, even
 9   if the non-moving party has not introduced contradictory evidence in response. When, on
10   the other hand, the non-movant bears the burden of proof on a claim at trial, the movant
11   may prevail either by citing evidence negating an essential element of the non-movant’s
12   claim or by showing that the non-movant’s proffered evidence is insufficient to establish an
13   essential element of the non-movant’s claim. See Celotex, 477 U.S. at 322-23; Nissan Fire
14   & Marine Ins. v. Fritz Cos, 210 F.3d 1099, 1103 (9th Cir. 2000).
15   III.   DISCUSSION
16          PUSD moves for summary judgment on three grounds. First, Rooks lacks standing
17   to bring suit. (Doc. 38 at 9.) Second, proper application of Arizona’s Open Meeting Law
18   does not violate Rooks’s rights. (Id. at 15.) And third, Rooks has not proven a cognizable
19   claim. (Id. at 20.)
20          Rooks argues she is entitled to summary judgment because reading scripture during
21   board comments does not offend the Establishment Clause. (Doc. 34 at 11.) Alternatively,
22   Rooks argues legislative immunity protects her “from adverse action based on the content
23   of her comments during [b]oard [m]eetings,” or PUSD’s actions violate her First
24   Amendment rights under the federal Constitution, Arizona Constitution, and Arizona’s
25   Free Exercise of Religion Act. (See Doc. 34 at 11, 20, 21, 24-29.) Rooks further maintains
26   she has standing to pursue her claims. (See generally Doc. 41 at 8.)
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 1          A.     Article III Standing
 2          “Article III of the United States Constitution limits federal court jurisdiction to
 3   ‘actual, ongoing, cases or controversies.’” Wolfson v. Brammer, 616 F.3d 1045, 1053 (9th
 4   Cir. 2010) (quoting Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477 (1990)). Federal courts
 5   determine when an ongoing case or controversy exists through the doctrine of standing.
 6   See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). To establish standing, a party
 7   invoking federal jurisdiction must demonstrate they have “(1) suffered an injury in fact, (2)
 8   that is fairly traceable to the challenged conduct of the [opposing party], and (3) that is
 9   likely to be redressed by a favorable judicial decision.” See Lake v. Fontes, 83 F.4th 1199,
10   1202-03 (9th Cir. 2023) (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)).
11          As the elements suggest, “[t]he party invoking federal jurisdiction bears the burden
12   of establishing” each element of standing to the same degree it proves “any other matter
13   on which [it] bears the burden of proof.” See Lujan, 504 U.S. at 561. The manner and
14   degree of evidence needed to establish standing changes with each stage of the litigation.
15   See id. At the pleading stage, “general factual allegations of injury resulting from the
16   defendant’s conduct may suffice.” Id. Once, however, the pleading stage has ended, and
17   litigation has moved into discovery or beyond, the burden on the invoking party increases.
18   See id. This increased burden means when standing is challenged during summary
19   judgment, via a motion from a defendant, the invoking party must respond by “‘set[ting]
20   forth’ by affidavit or other evidence ‘specific facts,’ which for purposes of the summary
21   judgment motion will be taken to be true.” See id. (quoting Fed. R. Civ. P. 56(e)); see also
22   Nissan Fire & Marine Ins., 210 F.3d at 1103.
23                 1.     Injury in Fact
24          The first requirement for Article III standing is the invoking party must suffer “an
25   invasion of a legally protected interest”—or an injury in fact. Lopez v. Candaele, 630 F.3d
26   775, 785 (9th Cir. 2010) (quoting Lujan, 504 U.S. at 560). A cognizable injury normally
27   must be “(a) concrete and particularized, and (b) actual or imminent, not conjectural or
28   hypothetical” to satisfy the first requirement. See id. (quoting Lujan, 504 U.S. at 560).


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 1                         i.     Analytical Framework
 2          PUSD argues the Court should divide its injury-in-fact analysis into two categories
 3   based on the claims alleged in the Complaint. (See Doc. 38 at 11-15.) The first concerns
 4   claims three through six, which allege PUSD violated Rooks’s right to free speech and free
 5   expression under the federal Constitution, Arizona Constitution, and Arizona’s Free
 6   Exercise of Religion Act. (See id. at 11-14; Doc. 1 at 22-26.) PUSD contends these claims
 7   are pre-enforcement challenges because Rooks “does not allege that she experienced any
 8   retaliation from [PUSD],” and “[s]he also denies that she is currently reading Bible verses
 9   at [b]oard meetings.” (Doc. 38 at 11.) It asks the Court to find Rooks lacks standing to
10   bring these claims because it “has not enacted any rule, regulation, or policy that could
11   violate [Rooks’s] First Amendment rights.” (See Doc. 45 at 3.)
12          Next, PUSD asks the Court to separately consider Rooks’s claims for declaratory
13   relief—claims one and two. (See Doc. 38 at 14.) Rooks’s first claim seeks a judicial
14   declaration that she is entitled to absolute legislative immunity for “federal and state-law
15   claims arising from her statements as a [b]oard member during the official proceedings of
16   a formal [b]oard meeting.” (Doc. 1 ¶ 47.) Her second claim asks the Court to “declare that
17   Rooks’[s] brief quotations of scripture during her [b]oard comments time at public school
18   board meetings do not violate the Establishment Clause.” (Id. ¶ 54.) PUSD argues these
19   claims lack standing because it “has not brought a claim, sought relief, or threatened
20   adverse action for [Rooks’s] potential violation of the Establishment Clause.” (Doc. 38 at
21   14.) PUSD asks the Court to find both claims are advisory opinions because they seek relief
22   “from liability in future suits by other parties.” (See id.)
23          Rooks disagrees with PUSD’s suggestion and argues the Court should divide its
24   injury-in-fact analysis based on her requests for retrospective and prospective relief. (See
25   Doc. 41 at 8-19.) Rooks argues PUSD’s advisory opinion argument “is just window
26   dressing for [its] standing argument, which is wrong as a matter of both undisputed record
27   evidence and controlling judicial precedent.” (See id. at 8) She continues by explaining her
28   claims seek “prospective relief for the ongoing effect of [PUSD]’s threats that are chilling


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 1   her speech” and “retrospective relief for [PUSD]’s past disruptions and threats.” (Id.)
 2   Rooks believes dividing the Court’s injury-in-fact analysis based on these two theories is
 3   the appropriate approach. (See id. at 8-19.)
 4          The Declaratory Judgment Act authorizes “any court of the United States” to
 5   “declare the rights and other legal relations of any interested party seeking such declaration,
 6   whether or not further relief is or could be sought,” presuming it is “a case of actual
 7   controversy within [the court’s] jurisdiction.” 28 U.S.C. § 2201(a). The United States
 8   Supreme Court has interpreted “case of actual controversy” as referring “to the type of
 9   ‘Cases’ and ‘Controversies’ that are justiciable under Article III.” MedImmune, Inc. v.
10   Genetech, Inc., 549 U.S. 118, 127 (2007). As such, “[t]he limitations that Article III
11   imposes upon [a] federal court[s’] jurisdiction [is] not relaxed in the declaratory judgment
12   context,” and there is no need to separately analyze Rooks’s first and second claims simply
13   because they seek a declaratory relief. See Gator.com Corp. v. L.L. Bean, Inc., 398 F.3d
14   1125, 1129 (9th Cir. 2005).
15          There is, however, reason to divide Rooks’s claims based on her requests for
16   prospective and retrospective relief. The injury-in-fact prong carries different requirements
17   for pre-enforcement and post-enforcement challenges under the First Amendment. See
18   Twitter, Inc. v. Paxton, 56 F.4th 1170, 1174 (9th Cir. 2022); see also Peace Ranch, LLC v.
19   Bonta, 93 F.4th 482, 487 (9th Cir. 2024) (“Pre-enforcement injury is a special subset of
20   injury-in-fact.”). In instances where enforcement has already occurred, the inquiry “focuses
21   directly on the three elements that form the ‘irreducible constitutional minimum’ of Article
22   III standing”—i.e. the injury is “(a) concrete and particularized, and (b) actual or
23   imminent.” Twitter, Inc., 56 F.4th at 1173; Lopez, 630 F.3d at 785 (quoting Lujan, 504 U.S.
24   at 560). But when enforcement has not yet occurred, and the First Amendment claim
25   concerns threatened government action against protected speech, the injury-in-fact
26   requirement of standing diminishes, creating an Article III injury whenever there is
27   threatened enforcement against constitutionally protected speech that is “sufficiently
28   imminent.” See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158-59 (2014); see also


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 1   Twitter, Inc., 56 F.4th at 1174 (“Given that pre-enforcement claims necessarily occur
 2   before enforcement actions have begun, the standing factors for pre-enforcement claims
 3   are substantively similar to the ripeness factors and identical concerns motivate both
 4   analyses.”).
 5          Rooks seeks prospective relief for all her claims and retrospective relief for claims
 6   three through six. (See Doc. 41 at 8.) Looking at the Complaint, Rooks’s first two claims
 7   for prospective relief were brought under the Declaratory Judgment Act. (Doc. 1 ¶ 8,
 8   ¶¶ 42-54.) Her third claim then alleged “[t]he threat of looming legal liability . . . chill[ed
 9   her] protected right to free speech”; a factual allegation Rooks incorporated by reference
10   into her remaining claims. (See id. ¶ 59, ¶ 60, ¶ 66, ¶ 72.) Claims three through six also
11   repeatedly allege PUSD’s “policy” and “actions” prevented Rooks from reciting Bible
12   verses at board meetings. (Id. ¶ 58, ¶ 63, ¶¶ 69-70, ¶ 75.) Taken together, the Complaint
13   indicates Rooks has sought prospective and retrospective relief since the beginning of this
14   litigation.
15          The Court concludes adopting Rooks’s requested framework best encapsulates the
16   different requirements for pre-enforcement and post-enforcement injury in fact. See
17   Twitter, Inc., 56 F.4th at 1174. The Court will begin by examining whether Rooks’s claims
18   meet the requirements for pre-enforcement injury. It will then examine whether claims
19   three through six meet the standard for post-enforcement injury.
20                        ii.     Pre-Enforcement Injury in Fact
21          The injury-in-fact requirement of standing normally demands “an invasion of a
22   legally protected interest which is (a) concrete and particularized, and (b) actual or
23   imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (citations omitted).
24   Recognizing, however, pre-enforcement “challenges based on the First Amendment
25   present unique standing considerations,” the United States Supreme Court “has endorsed
26   what might be called a ‘hold your tongue and challenge now’ approach” to standing, as
27   opposed to “requiring litigants to speak first and take their chances with the consequences.”
28   Ariz. Right to Life Pol. Action Comm. v. Bayless, 320 F.3d 1002, 1006 (9th Cir. 2003). This


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 1   lessened standard diminishes the injury-in-fact requirement of standing by creating an
 2   Article III injury whenever there is threatened enforcement against constitutionally
 3   protected speech, so long as the enforcement is “sufficiently imminent.” See Driehaus, 573
 4   U.S. at 158-59; see also Twitter, Inc., 56 F.4th at 1174.
 5                               a.     Legal Framework
 6          PUSD argues Alaskan Right to Life Political Action Committee v. Feldman, 504
 7   F.3d 840 (9th Cir. 2007), provides the appropriate framework for evaluating when a threat
 8   of enforcement is “sufficiently imminent” to create a pre-enforcement injury. Drehaus, 573
 9   U.S. at 158-59; (Doc. 38 at 11.) Rooks contends a sufficient pre-enforcement injury only
10   requires “self-censorship in response to a credible threat.” (See Doc. 41 at 9.)
11          The Ninth Circuit Court of Appeals first conceived its three-part test for analyzing
12   a possible pre-enforcement injury in Thomas v. Anchorage Equal Rights Commission, 220
13   F.3d 1134 (9th Cir. 2000). In Thomas, the court stated an injury depends on “whether the
14   plaintiffs have articulated a ‘concrete plan’ to violate the law in question, whether the
15   prosecuting authorities have communicated a specific warning or threat to initiate
16   proceedings, and the history of past prosecution or enforcement under the challenged
17   statute.” Id. at 1139. Subsequent decisions reformulated the Thomas test into specific,
18   numbered factors. See, e.g. Feldman, 504 F.3d at 849. Relevant here, the Ninth Circuit in
19   Feldman used the Thomas test to find plaintiffs lacked standing to bring a pre-enforcement
20   challenge against certain portions of Alaska’s Code of Judicial Conduct. Id. at 852-53.
21          But nearly fifteen years after Thomas, and about seven years after Feldman, the
22   United States Supreme Court articulated a different standard for evaluating
23   pre-enforcement injury. In Driehaus, the Court explained “a plaintiff satisfies the
24   injury-in-fact requirement” of pre-enforcement standing when they show “an intention to
25   engage in a course of conduct arguably affected with a constitutional interest, but
26   proscribed by a statute, and there exists a credible threat of prosecution thereunder.” 573
27   U.S. at 159-60 (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979)).
28


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 1          The effect Driehaus had on the Thomas test remained unclear for many years.
 2   Although the Driehaus test undoubtedly “incorporat[es] part of the essence of the [Thomas]
 3   test,” it also materially differs in several aspects. Peace Ranch, LLC, 93 F.4th at 487. As
 4   an example, the Driehaus test only requires the intended conduct “arguably affect[] . . . a
 5   constitutional interest,” while the Thomas test requires the intended conduct be specifically
 6   tied to the challenged provision. Compare Driehaus, 573 U.S. at 160, with Thomas, 220
 7   F.3d at 1139. Those competing interests caused the Ninth Circuit to toggle between both
 8   tests in the years after Driehaus. See, e.g., Unified Data Servs., LLC v. FTC, 39 F.4th 1200,
 9   1210 n.9 (9th Cir. 2022). But then, in 2024, the court acknowledged its inconsistency and
10   “adopt[ed] the Supreme Court’s framework” in Driehaus as the appropriate test for
11   deciding pre-enforcement injury. See Peace Ranch, LLC, 93 F.4th at 487. The Ninth Circuit
12   has consistently used Driehaus since its 2024 proclamation. See, e.g., Seattle Pac. Univ. v.
13   Ferguson, 104 F.4th 50, 59-61 (9th Cir. 2024); Matsumoto v. Labrador, 122 F. 4th 787,
14   797-99 (9th Cir. 2024). The Court, therefore, concludes PUSD incorrectly suggests
15   Feldman is the appropriate framework. (Doc. 38 at 11.) It will use the test outlined in
16   Driehaus to analyze whether Rooks has a constitutionally sufficient pre-enforcement
17   injury. Peace Ranch, LLC, 93 F.4th at 487.
18          Rooks argues a pre-enforcement injury only requires “self-censorship in response
19   to a credible threat.” (See Doc. 41 at 9.) This argument relies on Tingley v. Ferguson, where
20   the Ninth Circuit said: “in the context of pre-enforcement challenges to laws on First
21   Amendment grounds, a plaintiff ‘need only demonstrate that a threat of potential
22   enforcement will cause him to self-censor.’” 47 F.4th 1055, 1068 (9th Cir. 2022) (quoting
23   Protectmarriage.com-Yes on 8 v. Bowen, 752 F.3d 827, 839 (9th Cir. 2014)).
24          The statement in Tingley stems from Wolfson v. Brammer, 616 F.3d 1045 (2010).
25   In Wolfson, the Ninth Circuit Court of Appeals recognized “[s]elf-censorship is a
26   constitutionally recognized injury.” See id. at 1059. But it did so within the confines of the
27   Ninth Circuit’s Thomas test. See id. at 1058-59. And importantly, the court only found a
28   cognizable injury after weighing the three Thomas factors. See id. Later cases from the


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 1   Ninth Circuit explain “self-censorship alone is insufficient to show [an Article III] injury.”
 2   Lopez, 630 F.3d at 792; see also Cal. Pro-Life Council, Inc. v. Getman, 328 F.3d 1088,
 3   1095 (9th Cir. 2003) (“We do not mean to suggest that any plaintiff may challenge the
 4   constitutionality of a statute on First Amendment grounds by nakedly asserting that his or
 5   her speech was chilled by the statute.”). Thus, Tingley does not present a stand-alone
 6   framework for pre-enforcement injury. Driehaus remains the appropriate test.
 7          Accordingly, to establish the existence of a pre-enforcement injury, Rooks must
 8   show “an intention to engage in a course of conduct arguably affected with a constitutional
 9   interest, but proscribed by a statute, and there exists a credible threat of prosecution
10   thereunder.” Driehaus, 573 U.S. at 160 (quoting Babbitt, 442 U.S. at 298); Lujan, 504 U.S.
11   at 561 (stating the burden is on the party invoking federal jurisdiction).
12                               b.      First Driehaus Requirement
13          The first Driehaus requirement is the invoking party must demonstrate “an intention
14   to engage in a course of conduct arguably affected with a constitutional interest.” See 573
15   U.S. at 160 (quoting Babbitt, 442 U.S. at 298). Keeping with the “unique standing
16   considerations” that arise within the context of pre-enforcement challenges based on the
17   First Amendment, “a plaintiff need not plan to break the law” in order to satisfy the first
18   requirement. See Bayless, 320 F.3d at 1006; Peace Ranch, LLC, 93 F.4th at 488. Instead,
19   the inquiry “is more counterfactual than practical,” requiring a plaintiff first prove they
20   “would have the intention to engage in the proscribed conduct, were it not proscribed,” and
21   then prove the intended conduct was “arguably affected with a constitutional interest.” See
22   Peace Ranch, LLC, 93 F.4th at 488.
23          Rooks argues her intention to recite Bible verses is demonstrated through “recit[ing]
24   scripture ten times at [school board] meetings before [PUSD’s] threats caused her to
25   self-censor,” as well as her comments at the July 13, 2023, board meeting. (See Doc. 41 at
26   9.) At the July 13 meeting, Rooks said PUSD directed her “to stop reciting Bible verses
27   during school board meetings” because PUSD “asserts that doing so violates the
28   Establishment Clause of the First Amendment. See Peoria Unified Governing Board


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 1   Meeting, supra (beginning at 49:46). Rooks continued “[b]ased upon [PUSD’s direction],
 2   I will refrain from reciting Bible verses at this time.” See id.
 3          PUSD does not dispute Rooks made those statements, nor does it provide any
 4   argument directly challenging the first Driehaus requirement. Nonetheless, the Court will
 5   analyze whether the evidence offered by Rooks satisfies her burden as the party invoking
 6   federal jurisdiction. Lujan, 504 U.S. at 561.
 7          The evidence of Rooks “recit[ing] scripture ten times at [school board] meetings”
 8   demonstrates a past practice of speech. See Peace Ranch, LLC, 93 F.4th at 488 (stating a
 9   past practice can establish intent). And her statement at the July 13, 2023, board meeting
10   demonstrates her intention to continue with that practice, if not for her concerns that
11   eventually led to this lawsuit. When combined, this evidence sets forth adequate details
12   about Rooks’s intended speech. See Lopez, 630 F.3d at 787 (stating a plaintiff’s allegations
13   must be specific enough to avoid speculation as to the contents of their intended
14   statements). Therefore, Rooks has shown her “intention to engage in a course of conduct.”
15   See Driehaus, 573 U.S. at 160.
16          Next, Rooks’s conduct must be “arguably affected with a constitutional interest.”
17   Id. Considering “the Supreme Court has cautioned that standing ‘in no way depend[s] on
18   the merits,’” this inquiry does not require a mini litigation of Rooks’s claims. See Peace
19   Ranch, LLC, 93 F.4th at 488 (quoting Arizona v. Yellen, 34 F.4th 841, 849 (9th Cir. 2022)).
20   Instead, the evidence only needs to demonstrate the intended conduct is arguably affected
21   by a constitutional interest. See id. The evidence here demonstrates Rooks sought to recite
22   Bible verses—conduct touching on constitutional interests in freedom of speech and
23   freedom of religion. As such, Rooks has satisfied her burden of showing an arguably
24   affected constitutional interest. Driehaus, 573 U.S. at 160. The Court concludes that the
25   first Driehaus requirement has been met.
26                                c.     Second Driehaus Requirement
27          The    second    Driehaus    requirement is      the intended conduct must be
28   “arguably . . . proscribed by a statute.” See 573 U.S. at 160 (quoting Babbitt, 442 U.S. at


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 1   298). Here, the Court must first examine what conduct is proscribed by the challenged law.
 2   See Yellen, 34 F.4th at 849. Then, it must take the intended conduct established under the
 3   first Driehaus requirement and evaluate whether that conduct falls within the challenged
 4   law’s sweep. See id. The Ninth Circuit has historically found conduct is not proscribed
 5   when a challenged law “by its terms is not applicable to the plaintiff[s], or the enforcing
 6   authority has disavowed the applicability of the challenged law,” of course presuming “the
 7   government’s disavowal . . . [is] more than a mere litigation position.” See Lopez, 630 F.3d
 8   at 788.
 9             This is where the unique factual circumstances of this case come into play. Rooks
10   argues the “explicit warnings” contained in the two emails board members received from
11   their executive assistant (Doc. 34 Ex. 5) and attorney (Doc. 34 Ex. 6) chilled her speech.
12   (See Doc. 41 at 10-11.) But as the second Driehaus factor suggests, pre-enforcement
13   standing normally applies to challenges targeted at a specific policy or statute. See 573 U.S.
14   at 160. And while Rooks provides the Court with cases where pre-enforcement standing
15   was found based on actions between private parties, (see, e.g., Doc. 41 at 10-11 (citing
16   Societe de Conditionnement en Aluminium v. Hunter Eng’g Co., 655 F.2d 938, 944-45 (9th
17   Cir. 1981)), she does little to demonstrate that government actions follow a similar
18   standard.
19             What’s more, the decision by Rooks and PUSD to fast-track the pleading stages and
20   discovery has limited the evidence available to the Court. (See Doc. 15 at 2-3; Doc. 21
21   ¶¶ 14-15.) Neither party took any depositions or collected any additional discovery beyond
22   the five interrogatories and ten requests for admission agreed to in the Stipulated Motion
23   for Deadlines and Discovery (See Doc. 15 ¶ 7.) As a result, Rooks asks the Court to find
24   pre-enforcement standing largely based on two emails sent to board members, as well as
25   PUSD’s response to one of Rooks’s interrogatory questions (See Doc. 41 at 14.) In the
26   Court’s view, the decision to limit discovery puts Rooks on shaky footing, especially when
27   that decision is combined with the theory of pre-enforcement standing being advanced in
28   this case.


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 1          Despite these concerns, the Court notes “when the threatened enforcement effort
 2   implicates First Amendment rights, the inquiry tilts dramatically toward a finding of
 3   standing.” Bayless, 320 F.3d at 1006 (quoting LSO, Ltd. v. Stroh, 205 F.3d 1146, 1155 (9th
 4   Cir. 2000)). Rooks will have all the benefits she is entitled to under this relaxed standard.
 5          Rooks primarily cites two emails to support her argument PUSD prevented her from
 6   reciting Bible verses. (See Doc. 41 at 10-11.) The first email came from the Board’s
 7   executive assistant, and it arose after a board member spoke with legal counsel following
 8   the first complaint from Secular Communities of Arizona, Inc. (Doc. 34 at 61.) The email
 9   summarized counsel’s advice as “a board member acting in their role as such, should not
10   read Scripture during a board meeting, as it violates the Establishment Clause.” (Id.) The
11   next email came directly from the Board’s attorney after the Freedom from Religion
12   Foundation sent its second complaint—about five months after the email from the Board’s
13   executive assistant. (Id. at 64-65.) It warned “[b]oard members, acting in their official
14   capacities at [b]oard meetings, may not pray or offer [B]ible verses at [b]oard meetings
15   because it is a violation” of Arizona law and the Establishment Clause.” (See id.) It also
16   warned continuing to recite scripture could lead to significant legal expenses for PUSD and
17   a possible open meeting investigation against individual board members by the Arizona
18   Attorney General. (See id.)
19          PUSD argues this evidence does not meet the second Driehaus requirement because
20   Rooks does not identify a rule, regulation, or policy preventing her from reciting Bible
21   verses at school board meetings. (See Doc. 38 at 11.) PUSD explains “[o]nly the entire
22   board can adopt policies”—a two-step process that entails first presenting a proposal for
23   review and then adopting the proposal at a separate meeting. (See id. at 11; Doc. 38-8 at
24   9.) Because no such process was ever initiated by the Board, and because no currently
25   enacted policy prevents Rooks from reciting Bible verses, PUSD believes Rooks cannot
26   establish her conduct was “proscribed by a statute” as a matter of law. (See Doc. 38 at
27   11-12.)
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 1          Next, PUSD classifies the emails sent to board members as “non-binding
 2   guidance . . . on how to avoid possible future legal liability.” (Doc. 45 at 3.) PUSD thus
 3   agrees with Rooks the emails were “explicit warnings.” (Compare id., with Doc. 41 at
 4   10-11.) But it argues the emails do not open the door to pre-enforcement standing because
 5   they only warned other entities could sue Rooks if she continued to recite Bible verses—as
 6   opposed to PUSD itself taking any action. (See Doc. 45 at 3.) PUSD, therefore, believes
 7   the emails could not have chilled Rooks’s speech. (See id.) In addition, it notes board
 8   members were well aware they could ignore the legal advice provided in the emails, as
 9   demonstrated by Rooks continuing to recite Bible verses after the first email from the
10   Board’s executive assistant. (See id.)
11                                       1)     Standard for Second Driehaus Requirement
12          PUSD argues Rooks can only satisfy the second Driehaus requirement by
13   challenging a specific rule, regulation, or policy that prevents her from reading Bible
14   verses. (See Doc. 38 at 11.) This argument challenges Rooks’s evidence as a matter of law.
15   (See id.) To address it, the Court must begin its analysis by looking at Driehaus and the
16   context in which the United States Supreme Court created its test for pre-enforcement
17   standing.
18          At issue in Driehaus was a challenge to an Ohio statute criminalizing “false
19   statement[s] concerning the voting record of a candidate or public official” or “post[ing],
20   publish[ing], circulat[ing], distribute[ing], or otherwise disseminat[ing] a false statement
21   concerning a candidate.” 573 U.S. at 152 (internal citations omitted). The lower courts held
22   a lawsuit filed by Susan B. Anthony List lacked a cognizable injury because there was no
23   active complaint against its political advertising. See id. at 155-57. The Supreme Court
24   accepted certiorari to address the “recurring issue . . . [of] determining when the threatened
25   enforcement of a law creates an Article III injury.” See id. at 158. The Court explained the
26   injury-in-fact requirement for pre-enforcement standing only requires there be “threatened
27   enforcement [that is] sufficiently imminent.” See id. at 159. It then provided a
28   three-element test to determine when threatened enforcement has occurred. See id.


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 1            The reasoning of Driehaus indicates the Supreme Court intended to “set the general
 2   standard for pre-enforcement standing.” See Tingley, 47 F.4th at 1067 (9th Cir. 2022). But
 3   its context also indicates the Court fashioned its test around the specific issue before
 4   it: whether Susan B. Anthony List had standing to challenge Ohio’s statute criminalizing
 5   false political speech. See Driehaus, 573 U.S. at 158. Driehaus, therefore, sets the
 6   appropriate framework for analyzing pre-enforcement standing. See Tingley, 47 F.4th at
 7   1067. It does not, however, mean pre-enforcement standing only applies to challenges to
 8   enacted laws. See id. The Court’s reasoning leaves room for the idea pre-enforcement
 9   standing can also apply to a wider range of government conduct. See id. And the Court’s
10   broader caselaw indicates a pre-enforcement injury can arise based on government action
11   alone.
12            The Supreme Court’s pre-Driehaus holding in Laird v. Tatum, 408 U.S. 1 (1972),
13   helps prove this point. There, the Court considered whether the existence and operation of
14   a government data-gathering program sufficiently chilled First Amendment rights to create
15   standing. See id. at 10. The plaintiffs in Laird were a group of civilians who argued a
16   cognizable injury arose from the possible collection and misuse of their information by the
17   government. See id. The civilians did not attempt to establish misuse was “a definitely
18   foreseeable event.” See id. Rather, they primarily relied on misuse occurring at some point
19   in the future. See id.
20            To address these arguments, the Court began by recognizing a constitutional injury
21   can arise when speech is chilled by the exercise of government power. See id. at 10-11; see
22   also Saline Parents v. Garland, 88 F.4th 298, 304 (D.C. Cir. 2023) (explaining Laird makes
23   clear there is a “cognizable chilling injury”). But the Court also emphasized an injury
24   premised on chilled speech was not a boundless expansion on standing. See Laird, 408
25   U.S. at 12-13. It identified two restrictions on the application of pre-enforcement chilling
26   injuries. First, such injuries do not erode the “established principle that . . . to invoke the
27   judicial power to determine the validity of executive or legislative action [a plaintiff] must
28   show that he has sustained, or is immediately in danger of sustaining, a direct injury as the


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 1   result of that action.” See id. at 13 (quoting Ex parte Levitt, 302 U.S. 633, 634 (1937)).
 2   Second, a plaintiff must show “the challenged exercise of governmental power was
 3   regulatory, proscriptive, or compulsory in nature, and the [plaintiff] was either presently or
 4   prospectively subject to the regulations, proscriptions, or compulsions that he was
 5   challenging.” See id. at 11.
 6          Ultimately, the Court used these principles to conclude the civilians lacked standing.
 7   Id. at 13. Their injury related to the possible future misuse of information was speculative.
 8   Id. Thus, any chilling of First Amendment speech was based on the civilian’s subjective
 9   beliefs, which the Court referred to as “subjective chill,” rather than any objective threat of
10   government action. See id.; see also Zimmerman v. City of Austin, 881 F.3d 378, 389-90
11   (5th Cir. 2018) (stating “government action that chills protected speech without prohibiting
12   it can give rise to a constitutionally cognizable injury, to confer standing, [but] allegations
13   of chilled speech or self-censorship must arise from a fear of prosecution that is not
14   imaginary or wholly speculative”) (internal citations omitted).
15          Relevant for this case, Laird recognizes chilled speech can occur based on the
16   exercise of government power. See 408 U.S. at 10-11. That reasoning encompasses
17   government action divorced from a specifically enacted law. See id. And it supports finding
18   a pre-enforcement injury can arise based on stand-alone government action that chills First
19   Amendment rights. See id. When deciding Laird, the United States Supreme Court also set
20   several boundaries for pre-enforcement standing premised on government action. Those
21   restrictions allow Laird to comfortably fit within the normal pre-enforcement analysis
22   occurring under the second Driehaus requirement. As an example, the first boundary set
23   by the Court is government action must result in a sustained injury or create an immediate
24   danger of injury before the court can grant a litigant federal jurisdiction. See id. This
25   requirement is like the “sufficiently imminent” standard outlined in Driehaus, 573 U.S. at
26   158-59. In addition, Laird’s requirement that government action be “regulatory,
27   proscriptive, or compulsory in nature” is similar to examining the conduct proscribed by a
28   challenged law. Compare Laird, 408 U.S. at 11, with Yellen, 34 F.4th at 849. And its


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 1   requirement for a plaintiff to be “either presently or prospectively subject to the regulations,
 2   proscriptions, or compulsions” is similar to analyzing whether the desired conduct fits
 3   within the challenged law’s sweep. Compare Laird, 408 U.S. at 12, with Yellen, 34 F.4th
 4   at 849.
 5             Finally, and perhaps most importantly, Laird’s reasoning goes to the very purpose
 6   behind pre-enforcement standing. Pre-enforcement standing based on the First Amendment
 7   lessens the injury-in-fact requirement of Article III because the “chilling of First
 8   Amendment rights is, itself, a constitutionally sufficient injury,” and the transcendent value
 9   of free expression warrants allowing litigants to discern their rights before the normal case
10   and controversy requirements are met. See Tingley, 47 F.4th at 1067; Bayless, 320 F.3d at
11   1006. This underlying purpose sets the focus of pre-enforcement standing at whether First
12   Amendment rights are being chilled. See Bayless, 320 F.3d at 1006; see also Peace Ranch,
13   LLC, 93 F.4th at 485 (“We conclude that the substantial threat of enforcement, and not the
14   likelihood that any such enforcement action would ultimately lead to sanctions, drives our
15   analysis [for pre-enforcement injury].”). And Laird simply recognizes chilling can occur
16   in more ways than through an enacted statute; it can also occur through government action
17   that is “regulatory, proscriptive, or compulsive” in nature. See 408 U.S. at 11. The Ninth
18   Circuit has endorsed a similar view by holding government action alone can chill First
19   Amendment rights. See White v. Lee, 227 F.3d 1214, 1228 (9th Cir. 2000) (holding an
20   investigation that did not result in an arrest still chilled First Amendment expression).
21   Accordingly, there is no requirement for a pre-enforcement injury to be premised on a
22   challenge to an enacted law.
23             PUSD argues Rooks does not meet the second Driehaus requirement because she
24   does not identify a rule, regulation, or policy that prevents her from reciting Bible verses
25   at board meetings. (See Doc. 38 at 11.) But as the previous analysis shows, that is an overly
26   restrictive interpretation of Driehaus. The Court, therefore, finds PUSD’s argument
27   unpersuasive. It cannot, as a matter of law, find Rooks fails to meet the second Driehaus
28   requirement simply because there is no specific policy being challenged.


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 1                                       2)      Chilled Speech Based on Emails
 2          Rooks argues her First Amendment rights were chilled based on the “explicit
 3   warnings” contained in the emails from the Board’s executive assistant and attorney. (Doc.
 4   41 at 10-11.) She interprets the emails as threats of future adverse action by PUSD should
 5   she continue reading Bible verses at board meetings. (See id. at 9-10, 12-13.) Those
 6   supposed threats, according to Rooks, put her in a defensive posture that resulted in
 7   self-censorship. (See id. at 10-11; see also id. at 9 (“Rooks’[s] self-censorship demonstrates
 8   an injury-in-fact because the summary judgment record conclusively establishes—exactly
 9   as Rooks stated at the time—that her anticipation of further adverse action by [PUSD] was
10   actual and well-founded based on [PUSD’s] credible threat of proceeding against her.”)
11   (internal quotation marks omitted).)
12          A government communication can be a sufficient basis for pre-enforcement
13   standing. See Culinary Workers Union v. Del Papa, 200 F.3d 614, 618 (9th Cir. 1999)
14   (finding a letter from the attorney general that demonstrated an intent “to enforce a statute
15   or encourage local law enforcement agencies to do so” was a sufficient basis for a
16   pre-enforcement injury). But because Rooks argues the content of the emails is what caused
17   her to self-censor, as well as the implicit threat of future action those emails supposedly
18   carried, this is not a typical pre-enforcement challenge concerning chilled speech from a
19   law or policy. (Doc. 41 at 9-10, 12-13.) Rather, the challenge concerns chilled speech
20   resulting from government action, an argument akin to Laird.
21          Laird explains a cognizable injury can occur when government action chills First
22   Amendment expression. See 408 U.S. at 11. It also provides a two-step process for
23   analyzing when government action prevents First Amendment speech. See id. First, the
24   action must be of a type that arguably chills constitutional rights, such as conduct that is
25   “regulatory, proscriptive, or compulsory in nature.” See id.; O’Keefe v. Van Boening, 82
26   F.3d 322, 325 (9th Cir. 1996). Second, the party asserting standing must show they are
27   subject to the government action being challenged. See Laird, 408 U.S. at 11. When both
28   requirements are met, the government action arguably prevented the intended conduct, and


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 1   the second Driehaus requirement is satisfied. See id.; Driehaus, 573 U.S. at 160.
 2          Laird’s first step requires the government action be of a type that arguably chills
 3   constitutional rights. 408 U.S. at 11. PUSD argues the emails are legal advice “on how to
 4   avoid possible future legal liability.” (Doc. 45 at 4.) Whereas Rooks argues they are written
 5   warnings of a legal violation that carried an implicit threat of future action by PUSD. (See
 6   Doc. 41 at 9, 12.) Their respective positions fundamentally disagree on the government
 7   action at issue in this case. The Court must resolve the disagreement before proceeding
 8   under Laird’s first step.
 9          When looking at the two emails, both were addressed to the entire Board and
10   concerned legal advice about the lawfulness of reciting Bible verses at board meetings.
11   (See Doc. 34 at 61, 64-66.) Both concluded reciting scripture was unlawful, and each
12   recommended board members should stop the practice. (Id. at 61, 64-65.) Moreover, the
13   email from the Board’s attorney specifically warned continuing to recite scripture could
14   result in PUSD being sued and individual Board members being investigated by the
15   Arizona Attorney General (Id. at 65.) Based on the content of the emails, it appears PUSD
16   is correct: the emails are legal advice designed to explicitly warn board members about
17   potential legal liability from third parties. (Doc. 45 at 4.)
18          It is also helpful to classify the emails based on what they do not contain. Nowhere
19   in the emails does it say the Board will refer board members to the Arizona Attorney
20   General for reciting Bible verses. Nor does it say the Board President will cut a board
21   member’s microphone at the mention of scripture. In fact, even after the Freedom from
22   Religion Foundation specifically asked the Board “to censure any school board members
23   who abuse their position by pushing their personal religious beliefs during board meetings”
24   (Doc. 34 at 58), the Boards’ attorney still refrained from including any mention of censure
25   in her subsequent email. (Id. at 64-66.) Indeed, if the Court were to construe the type of
26   advice provided in the emails as a threat, as Rooks suggests, it would risk chilling an
27   entirely different type of speech—conversations between attorneys and their clients. That
28   is something the Court is not willing to do. The Court finds the emails are legal advice


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 1   from the Board’s attorney. Laird’s first step asks whether such advice arguably chills
 2   constitutional rights. 408 U.S. at 11.
 3          By its very nature, legal advice is not regulatory or prescriptive in nature because it
 4   is non-binding. See Laird, 408 U.S. at 11. Therefore, the emails from PUSD are unlike
 5   those categories of conduct, and the only remaining category under Laird is government
 6   action that is “compulsory in nature.” See id.
 7          In deciding whether legal advice carries a compulsory nature, the Court finds the
 8   United States Supreme Court’s holding in Bantam Books, Inc. v. Sullivan, 372 U.S. 58
 9   (1963), instructive. In Bantam Books, Inc, the Rhode Island Legislature created an
10   organization called the Rhode Island Commission to Encourage Morality. Id. at 59. The
11   commission sought to stop the distribution of obscene materials to children. Id. It did so by
12   notifying distributors “that certain designated books or magazines distributed by [them]
13   had been reviewed” by the commission and declared “objectionable for sale, distribution,
14   or display to” children. Id. at 61. The notices thanked distributors in advance for their
15   anticipated cooperation since it obviated the commission’s duty “to recommend to the
16   Attorney General prosecution of purveyors of obscenity.” Id. at 62. Police would then
17   follow up with distributors to ensure they complied with the notices. See id. at 63.
18          The Court ultimately held Rhode Island violated the First Amendment by employing
19   a “system of informal censorship” that was “clearly [designed] to intimidate” distributors.
20   See id. at 64, 71. But relevant for this case is the Court’s response to the commission’s
21   argument it was simply advising booksellers of their legal rights. See id. at 67. In response
22   to that argument, the Court looked at the acts and practices used by the commission to
23   conclude it “deliberately set about to achieve the suppression of publications deemed
24   objectionable and succeeded in its aim.” Id. Evidence found persuasive by the Court
25   included commission members acting under the color of state law, phrasing the notices as
26   orders, and ensuring police would follow-up after a distributor received a notice. See id. at
27   68. The Court stated those practices distinguished the commission’s actions from providing
28   “mere legal advice.” See id.


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 1          The Court also made sure to explain its holding did not prevent contacts between
 2   the government and its citizens that are “genuinely undertaken” to ensure compliance with
 3   the law and avoid prosecution. See id. at 72. The Court noted those contacts do not offend
 4   the First Amendment, provided the government entity is qualified to give legal advice and
 5   does so with an intent to fairly advise a citizen of their legal rights and liabilities. See id.
 6          Bantam Books, Inc., indicates “mere legal advice,” standing alone, is not coercive
 7   government action. See id. at 68. Attempts to persuade by the government are permissible
 8   under the First Amendment. See Kennedy v. Warren, 66 F.4th 1199, 1207 (9th Cir. 2023).
 9   Government speech, however, ventures into unconstitutional coercion when a government
10   “official intimates that [they] will use [their] authority to turn the government’s coercive
11   power against the target if it does not change its ways.” See id. at 1209. From this reasoning,
12   the relevant question is whether the emails from the Board’s executive assistant and
13   attorney arguably suggested PUSD would turn its power against Rooks. (See Doc. 41 at
14   10-11 (stating the “explicit warnings” contained in the emails is what caused Rooks to
15   self-censor).)
16          Looking again at the emails, the email from the Board’s assistant was prompted by
17   “a fellow board member request[ing] a conversation with the [Board’s] attorney.” (Doc. 34
18   at 61.) It summarized the attorney’s guidance as “a board member . . . should not read
19   Scripture during a board meeting” and “the First Amendment is not applicable in this
20   situation.” (Id.) The email concluded with, “[m]oving forward, we hope this provides the
21   [Board] with the legal clarifications needed to conduct efficient business meetings.” (Id.)
22          The second email, from the Board’s attorney, stated “[t]he law is clear that [b]oard
23   members, acting in their official capacities at [b]oard meetings, may not pray or offer
24   [B]ible verses at Board meetings because it is a violation of the establishment clause of the
25   U.S. Constitution.” (Id. at 64-65.) The email continued, “offering [B]ible verses during a
26   board report is a violation of the Open Meeting Law,” and “[t]he risk to [PUSD] and to
27   individual board members if board members continue to recite [B]ible verses is twofold.”
28   (Id. at 65.) It explained PUSD could be sued if members continued reciting Bible verses.


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 1   (Id.) Or the Attorney General could pursue an open meeting law complaint “against both
 2   [PUSD] as a whole and any individual board member who violates the open meeting law,”
 3   resulting in potential “fines levied against board members and, in some cases, a lawsuit to
 4   remove a board member from office.” (See id.) The email concluded with, “[f]or these
 5   reasons, it would be in the best interest of [PUSD] to cease offering [B]ible verses at
 6   [b]oard meetings.” (Id.)
 7          There is nothing on the face of the emails to arguably suggest PUSD intended to do
 8   anything other than provide legal advice to board members. See Kennedy, 66 F.4th at 1207
 9   (stating word choice and tone can be indicative of coercive intent). While the second email
10   was certainly more ominous, “referencing potential legal liability does not morph an effort
11   to persuade into an attempt to coerce,” and the second email is fairly read as providing a
12   legal opinion and explaining the potential consequences if that opinion is not followed. See
13   id. at 1209; (Doc. 34 at 64-65.) Thus, the two emails are “mere legal advice,” which Bantam
14   Book, Inc. suggests is not coercive government action. 372 U.S. at 68.
15          Government action can still chill speech even when it is not “regulatory,
16   proscriptive, or compulsory in nature.” See Laird, 408 U.S. at 11 (indicating the list is
17   non-exclusive). Publicly labeling films as “political propaganda” has been found to chill
18   speech by the United States Supreme Court. See Meese v. Keene, 481 U.S. 465, 473-74
19   (1987). And government investigations, under certain circumstances, have been found to
20   chill speech by the Ninth Circuit Court of Appeals. See White, 227 F.3d at 1228-29; The
21   Presbyterian Church (U.S.A.) v. United States, 870 F.2d 518, 522 (9th Cir. 1989).
22          But legal advice is dissimilar from these other types of government action. The
23   advice is private, distinguishing it from public labeling. See Meese, 481 U.S. at 473-74.
24   And it does not start the process of criminal sanctions—the underlying premise behind
25   chilled expression from a government investigation. See White, 227 F.3d at 1228-29. Rooks
26   attempts to equate PUSD’s advice as the start of formal proceedings being brought against
27   her. (See Doc. 41 at 10-12.) The difference, however, lies in the fact a government
28   investigation is brought for the purpose of discerning whether to pursue subsequent action.


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 1   Legal advice, on the other hand, only warns subsequent action could possibly occur. That
 2   distinction is especially true for this case, where the focus of the advice was on potential
 3   actions from third parties. (Doc. 34 at 65.) As such, the legal advice provided in the emails
 4   is not a type of government action that arguably could have chilled Rooks’s First
 5   Amendment expression. See Laird, 408 U.S. at 11-12 (stating a cognizable injury requires
 6   an action that could chill speech).
 7          Rooks argues the emails satisfy the second Driehaus requirement because “the
 8   alleged harm ‘implicates First Amendment rights,’” meaning “the inquiry tilts dramatically
 9   toward a finding of standing.” (See Doc. 41 at 9 (quoting Bayless, 320 F.3d at 1006).) It is
10   true the standing requirements are relaxed in instances of pre-enforcement challenges based
11   on the First Amendment. See Twitter, Inc., 56 F.4th at 1173. But that relaxed standard
12   “does not mean . . . that any plaintiff may bring a First Amendment claim ‘by nakedly
13   asserting that his or her speech was chilled.’” See id. at 1174 (quoting Cal. Pro-Life
14   Council, Inc. v. Getman, 328 F.3d 1088, 1095 (9th Cir. 2003)). The Court has performed a
15   detailed review of the relevant precedent, and there is nothing to suggest legal advice,
16   standing alone, is the type of conduct that prevents First Amendment expression. There is
17   also nothing in the evidence presented by Rooks to indicate the emails from the Board’s
18   executive assistant and attorney were intended to be veiled threats of future action by
19   PUSD. Thus, Rooks’s argument amounts to nothing more than a bare assertion her speech
20   was chilled.
21          With neither of the emails indicating government conduct that is “regulatory,
22   proscriptive, or compulsory in nature,” and with the emails being dissimilar from other
23   forms of government action that have previously been found to chill speech, Rooks has
24   failed to meet her burden under the second Driehaus requirement. Lujan, 504 U.S. at 561.
25   Therefore, Rooks has not suffered a pre-enforcement injury, and she lacks standing to bring
26   her first and second claims for declaratory relief.
27
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 1                               d.      Third Driehaus Requirement
 2          Even assuming Rooks could show her conduct was arguably prevented by PUSD,
 3   she would also fail under the third Driehaus requirement: whether “there exists a credible
 4   threat of prosecution.” 573 U.S. at 160. This final requirement “often rises or falls with the
 5   enforcing authority’s willingness to disavow enforcement.” Peace Ranch, LLC, 93 F.4th
 6   at 490. Yet even before an invoking party can get to the question of disavowal, there must
 7   exist a “threat or even [a] hint of future enforcement or prosecution” by the enforcing party.
 8   See Thomas, 220 F.3d at 1140.
 9          Here too, the unique circumstances of this case also weigh on the Court’s analysis.
10   The result of the expedited discovery posture is neither party took any depositions or
11   collected any additional discovery besides the five interrogatories and ten requests for
12   admission agreed to in the Stipulated Motion for Deadlines and Discovery. (See Doc. 15.)
13   That limited discovery activity failed to produce any additional evidence to support
14   Rooks’s burden, besides a response PUSD gave to one of Rooks’s interrogatory questions.
15   (See Doc. 41 at 14.) As a result, Rooks continues to largely rely on the two emails board
16   members received from their executive assistant and attorney to establish a credible threat
17   of enforcement. (See id. at 10-13.) She uses PUSD’s interrogatory response—that “PUSD
18   cannot predict how it will respond to future events as it depends on the circumstances
19   present at that time”—as the only additional evidence of an ongoing threat. (See id. at 14,
20   42.)
21          More specifically, Rooks argues she faced a credible threat of enforcement from
22   PUSD based on the written warnings of a legal violation contained in the emails from the
23   Board’s executive assistant and attorney. (See Doc. 41 at 9-13.) Rooks also argues a
24   credible threat of enforcement arose from the emails containing an implicit threat of future
25   action by PUSD should she not heed the legal advice. (See id.) Both parties agree the emails
26   contain explicit warnings against quoting scripture at board meetings. (See id. at 10-11;
27   Doc. 45 at 3-4.) But as previously discussed, the language in the emails suggest their intent
28   was to provide legal advice to board members, and the warnings the emails contained did


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 1   not suggest PUSD was planning on taking any action against Rooks. (See Doc. 34 at 61,
 2   64-65.) Rather, the emails only warned third parties to this litigation—such as the Freedom
 3   from Religion Foundation, Secular Communities of Arizona, Inc., individual community
 4   members, or the Arizona Attorney General—could act against PUSD or Rooks if she
 5   continued to read Bible verses. (See id. at 64-65) As such, the text of the emails do not
 6   provide a “threat or even [a] hint of future enforcement or prosecution” by PUSD. See
 7   Thomas, 220 F.3d at 1140. Rooks needs to show more to meet the third Driehaus
 8   requirement. See id.
 9          Rooks argues she faced a credible threat based on the emails containing an implicit
10   threat of future enforcement by PUSD. (See Doc. 41 at 10-13.) She explains the warnings
11   contained in the emails carry, by their very nature, the implication of consequences should
12   they not be heeded. (See id. at 10.)
13          The Ninth Circuit Court of Appeals provided guidance on how to approach Rooks’s
14   argument in Lopez. There, a Christian student challenged their university’s sexual
15   harassment policy after being called a “fascist bastard” by his professor for a speech on
16   biblical marriage being between a man and a woman, and after that same professor wrote
17   “Remember—you agree[d] to Student Code of Conduct as a student at [the university]” on
18   a subsequent assignment. See 630 F.3d at 783, 785. The student argued the professor’s
19   comment and note created a credible threat the university would enforce the sexual
20   harassment policy against him if he continued to discuss Christian topics. See id. at 784.
21          In response to the student’s argument about the professor’s note, the court said “it
22   is plausible to read [the] comment . . . as an implicit threat that [the student] should take
23   care not to raise certain topics . . . and that such topics could violate the [university’s]
24   policies.” See id. at 789. Yet the court ultimately held “such an implied threat does not
25   meet the standard necessary to show injury in fact” because the comment does not
26   “constitute a threat to initiate proceedings if [the student] made [] remarks on marriage or
27   religion.” See id. The court instead interpreted the note as, “at most, a ‘general threat’ to
28   enforce the [sexual harassment policy], rather than a ‘direct threat of punishment.’” See id.


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 1   (quoting United Pub. Workers of Am. v. Mitchell, 330 U.S. 75, 88 (1947)). The court
 2   concluded “[s]uch general threats are insufficient to establish an injury in fact.” Id.
 3          Lopez indicates an implied threat, without more, does not establish a
 4   pre-enforcement injury. See id.; Johnson v. Watkin, 1:23-cv-00848-KES-CDB, 2024 WL
 5   4264007, at *14 (E.D. Cal. Sept. 23, 2024). Like Lopez, the emails do not constitute a threat
 6   to initiate proceedings against Rooks; in fact, the emails specifically say the threat comes
 7   from third parties potentially acting against PUSD and Rooks collectively, or each party
 8   individually. See 630 F.3d at 789; (Doc. 34 at 61, 64-65.) That means the emails are “at
 9   most” a “general threat,” which is inadequate to establish a credible threat of enforcement.
10   See Lopez, 630 F.3d at 789; Mitchell, 330 U.S. at 88.
11          Moreover, while the emails affirmatively warn that a legal violation has
12   occurred—making them different from the warning in Lopez—that fact does not transform
13   an implied threat into a cognizable injury. As Lopez explains, the focus concerns whether
14   the threat involves initiating proceedings against the party seeking pre-enforcement
15   standing. See id. The emails indicate the only threat to Rooks is from third parties. Thus,
16   the warnings contained in the emails do not create a credible threat of enforcement.
17          Some federal circuit courts have held a credible threat can arise from the “implicit
18   threat of punishment and intimidation” involved in communications between the
19   government and an individual. See Speech First, Inc. v. Schlissel, 939 F.3d 756, 765 (6th
20   Cir. 2019); see also Speech First, Inc. v. Fenves, 979 F.3d 319, 332-33 (5th Cir. 2020). As
21   an example, in Schlissel, the Sixth Circuit Court of Appeals considered the constitutionality
22   of the University of Michigan’s “Bias Response Team Initiative.” 939 F.3d at 762. The
23   initiative created “response teams,” which acted as a constituent part of the university by
24   responding to student-reported “bias incidents.” See id. When a bias incident was reported,
25   the initiative allowed members of the response team to contact “person[s] alleged to be
26   responsible for the incident” and invite them “to voluntarily meet with a member of the
27   [response team].” See id. The meeting could not be compelled, and members of the
28   response team “ha[d] no direct punitive authority.” See id. at 763. But members could


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 1   “make referrals to police, [the University of Michigan’s Office of Student Conflict
 2   Resolution], or other school resources such as counselling services.” See id. at 763.
 3          The Sixth Circuit held the plaintiffs in Schlissel had standing to challenge the
 4   initiative “because its members face[d] an objective chill based on the functions of the
 5   [r]esponse [t]eam.” Id. at 765. The court explained the response team “acts by way of
 6   implicit threat of punishment and intimidation to quell speech” through its ability to refer
 7   reported conduct to the police or university officials. See id. That referral power “itself
 8   does not punish a student,” but it does “subject[] students to processes which could lead
 9   to . . . punishments” like a criminal conviction or expulsion. See id. The court thus equated
10   an invitation to meet with a member of the response team as initiating the formal
11   investigative process. See id. It concluded the beginning a formal investigative process
12   chills First Amendment rights “even if it does not result in a finding of responsibility or
13   criminality.” See id.
14          In addition, the court noted the referral powers given to members of the response
15   team “could carry an implicit threat of consequence[s] should a student decline the
16   invitation” to meet. Id. It explained “a student who knows that reported conduct might be
17   referred to police or [university officials] could understand the invitation to carry the threat:
18   meet or we will refer your case.” See id. (internal quotation marks omitted). As such, the
19   court also concluded an invitation to meet chilled First Amendment speech due to the
20   “referral power lurk[ing] in the background of the invitation.” See id.
21          Rooks’s argument could be construed as advancing an argument similar to the
22   plaintiffs in Schlissel. Rooks argues the legal advice contained in the emails was actually
23   an implicit threat for her to stop reading Bible verses or else face future adverse action
24   from PUSD. (See Doc. 41 at 9-10, 12-13.) Like Schlissel, this argument could be premised
25   on a credible threat arising from the very act of the Board’s executive assistant and attorney
26   sending emails to board members—one that lurks in the background of the advice. See 939
27   F.3d at 765.
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 1          There are, however, several important differences between the legal advice provided
 2   in the emails and the school initiative in Schlissel. In Schlissel, the implicit threat arose
 3   from the relationship between the students accused of a bias incident and the response team.
 4   See id. at 762, 765; see also Somberg v. McDonald, 117 F.4th 375, 380 (6th Cir. 2024).
 5   The response team acted as a constituent part of the university—an entity with authority
 6   over the students. See Schlissel, 939 F.3d at 762. So when the response team asked a student
 7   accused of a bias incident to meet, there was an appearance of punitive authority that chilled
 8   First Amendment rights. See id. at 765.
 9          Here, PUSD is governed by the Board. (See Doc. 1 ¶ 12; Doc. 38 at 4.) And the
10   Board “retain[s] and exercise[s] full legislative authority and control over [PUSD] by
11   adopting general policies or by acting directly in matters not covered by its policies.” (See
12   Doc. 38-8 at 7.) A general policy is adopted by a two-step process where “the proposal [is]
13   presented for review” at a first meeting and then “presented for discussion and action” at a
14   second. (See id. at 9.) As a member of the Board, Rooks gets to participate in the
15   policy-making process and exercise authority over PUSD. (See id.) Therefore, the dynamic
16   between PUSD and Rooks is unlike the situation in Schlissel. See 939 F.3d at 762, 765.
17          In addition, the government action at issue in Schlissel was the response team’s
18   referral powers and ability to invite students to participate in meetings. See id. at 762-63.
19   But when the Sixth Circuit considered the response team’s powers as a whole, it classified
20   those actions as initiating a formal investigation against the accused students. See id. at
21   765. A formal investigation creates a more credible threat than providing legal advice.
22   Therefore, the act of sending legal advice to the Board also does not create a credible threat
23   of enforcement.
24          None of the cases cited by Rooks demand a different conclusion. Rooks cites
25   Chesebrough-Pond’s Inc. v. Faberge, Inc., 666 F.2d 393 (9th Cir. 1982), and California
26   Trucking Association v. Bonta, 996 F.3d 644 (9th Cir. 2021), to suggest a credible threat
27   of enforcement arises whenever there is a written warning of a legal violation. (See Doc.
28   41 at 10, 12-13.) But in both cases, the party seeking pre-enforcement standing presented


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 1   evidence of a written warning and intent by the enforcing authority to commence
 2   proceedings. In Chesebrough-Pond’s Inc., the intent to commence proceedings came from
 3   the defendant sending a letter “declaring its intent to file opposition proceedings.” 666 F.2d
 4   at 396. And in Bonta, intent was shown by the state of California notifying “the regulated
 5   community that it intend[ed] to enforce” the challenged provision and subsequently
 6   sending letters telling the community to implement the provision into their business
 7   practices. See 996 F.3d at 653. Thus, both cases went beyond providing a written warning
 8   of a legal violation. Each case also demonstrated the entity being sued intended to pursue
 9   further action because of the legal violation, as opposed to simply alerting the invoking
10   party a legal violation has occurred.
11          Rooks also cites Del Papa as support for her argument PUSD cannot “evade
12   responsibility for its threats by pointing to the fact that it was responding to threats made
13   by” third parties. (Doc. 41 at 13.) Del Papa, however, involved a unique situation where
14   the Nevada Attorney General sent a letter warning she would enforce a challenged
15   provision against the invoking party, or refer the party for prosecution to local authorities,
16   if they did not conform their conduct. 200 F.3d at 616. So evidence of intent to pursue
17   further action, which is lacking in this case, was also present in Del Papa. The Court,
18   therefore, finds none of Rooks’s cases persuasive.
19          The fact PUSD has refused “even today to disavow further action against Rooks”
20   also does not change the Court’s analysis. (Doc. 41 at 14.) During the Parties’ agreed-upon
21   expedited discovery, Rooks submitted an interrogatory question that asked: “If it is Your
22   position that [PUSD] will not take any adverse action against [Rooks] related to her reciting
23   of scriptures from the Bible during her [b]oard comments at [b]oard meetings . . . so state
24   that.” (Id. at 42.) PUSD objected to the question, stating it was hypothetical because
25   “PUSD cannot predict how it will respond to future events as it depends on the
26   circumstances present at that time.” (See id.)
27          Within the context of pre-enforcement standing, an established principle is a
28   “government’s disavowal [of an intent to enforce] must be more than a mere litigation


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 1   position” to avoid a pre-enforcement injury. See Lopez, 630 F.3d at 788. This principle is
 2   often used to prevent a government agency from simply denying enforcement after
 3   litigation has commenced. See id. The Court, however, also understands the principle as
 4   preventing it from placing too much weight on statements made by the parties during the
 5   forays of litigation. The response by PUSD could provide some evidence of an intent to
 6   pursue further action against Rooks. (See Doc. 41 at 42.) But it could also mean PUSD did
 7   not feel comfortable with the language of the question or that answering the question would
 8   hamper its ability to defend this case. Thus, any evidence of intent provided by PUSD’s
 9   response is minimal.
10          Moreover, government disavowal only matters after the invoking party
11   demonstrates a “threat or even [a] hint of future enforcement or prosecution” exists by the
12   enforcing party. See Thomas, 220 F.3d at 1140. The previous analysis shows there is no
13   threat or hint of a threat from PUSD. So the Court does not need to address the issue of
14   PUSD’s response.
15          Finally, Rooks being interrupted at the March 2023 board meeting does not establish
16   a credible threat. If anything, Rooks’s injury from the interruption has already occurred
17   and, on this record, is not an appropriate basis for a pre-enforcement injury.
18          For these reasons, none of the arguments presented by Rooks indicates a credible
19   threat of enforcement existed from PUSD. The evidence instead suggests the threat of
20   enforcement arose from third parties to this litigation. Accordingly, even if Rooks was
21   arguably prevented from reciting Bible verses, she still could not satisfy the third Driehaus
22   requirement. The Court concludes Rooks lacks a pre-enforcement injury. She cannot bring
23   her first and second claims for declaratory relief.
24                          iii.   Post-Enforcement Injury in Fact
25          In instances where enforcement has already occurred, the injury-in-fact analysis
26   “focuses directly on the three elements that form the ‘irreducible constitutional minimum’
27   of Article III standing”—i.e. the injury is “(a) concrete and particularized, and (b) actual
28   or imminent.” Twitter, Inc., 56 F.4th at 1174; Lopez, 630 F.3d at 785 (quoting Lujan, 504


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 1   U.S. at 560). A concrete injury must actually exist, but it does not need to be tangible. See
 2   Phillips v. U.S. Customs & Border Prot., 74 F.4th 986, 991 (9th Cir. 2023). An intangible
 3   injury is sufficiently concrete “if it presents a material risk of tangible harm or ‘has a close
 4   relationship to a harm that has traditionally been regarded as providing a basis for a lawsuit
 5   in English or American courts,’ like common law torts or certain constitutional
 6   violations.’” See id. (quoting Spokeo Inc., 578 U.S. at 340). A restriction on First
 7   Amendment freedoms is a well-established constitutional violation that can satisfy Article
 8   III standing. See Robins v. Spokeo, Inc., 867 F.3d 1108, 1112 (9th Cir. 2017).
 9          Because the injury-in-fact requirement of standing diminishes in the context of
10   pre-enforcement challenges, evidence failing to meet the standard for a pre-enforcement
11   challenge will also lose under the post-enforcement requirement for a concrete injury. See
12   Twitter, Inc., 56 F.4th at 1173; Mayfield v. United States, 599 F. 3d 964, 970 (9th Cir. 2010)
13   (“[A person] who has standing to seek damages for a past injury . . . does not necessarily
14   have standing to seek prospective relief . . . .”). As such, the emails from PUSD do not
15   establish a post-enforcement injury.
16          Rooks instead argues her post-enforcement injury arose from other board members
17   disrupting her speech during board comments. (See Doc. 41 at 19.) During oral argument,
18   Rooks clarified her position as a First Amendment violation occurs anytime a board
19   member is stopped from speaking.
20          At the March 9, 2023, board meeting Rooks was interrupted while discussing her
21   research around a mental health grant PUSD was awarded back in 2019. Peoria Unified
22   Governing Board Meeting (March 9, 2023), supra. The interruption occurred about two
23   minutes after Rooks recited Corinthians 16:13. See id. And the Board President, who
24   interrupted Rooks, said: “each one of us has received an email from legal around discussing
25   items that aren’t on the agenda during board comments and how by doing so goes against
26   open meeting laws.” Id. The Board President continued, “[w]e were also told that reciting
27   scripture at a board meeting on this side of the dias goes against the Establishment
28   Clause . . . . We were directed by legal on this, so it is important that I bring it up, so I just


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 1   needed to make that comment.” Id. At this point, several members of the audience began
 2   to express their disapproval over the interruption. See id. The Board President then ceded
 3   the floor back to Rooks and allowed her to continue with her board comments. Id.
 4          Later, during the April 13, 2023, meeting Rooks was interrupted while discussing a
 5   school safety grant during her board comments. Peoria Unified Governing Board Meeting
 6   (April 13, 2023), supra. The Board President reminded Rooks “of the importance of staying
 7   within our open meeting law governance.” Id.
 8          Rooks points to Bond v. Floyd, 385 U.S. 116 (1966), to suggest these interruptions
 9   created a cognizable post-enforcement injury. (Doc. 41 at 19.) In Bond, the United States
10   Supreme Court held a state legislator’s First Amendment rights were violated when his
11   colleagues disqualified him from office due to comments he made on the Vietnam War.
12   385 U.S. at 125, 136-37. Bond is understood by the Ninth Circuit as preventing “retaliatory
13   acts of elected officials against their own” when those acts have “the effect, deleterious to
14   democracy, of nullifying a popular vote.” See Blair v. Bethel Sch. Dist., 608 F.3d 540, 545
15   n.4 (9th Cir. 2010).
16          PUSD challenges Rooks’s theory of standing based on Houston Community College
17   System v. Wilson, 595 U.S. 468 (2022). (See Doc. 45 at 8-9.) There, the United States
18   Supreme Court held a verbal censure did not constitute an adverse action under a First
19   Amendment retaliation claim. See Wilson, 595 U.S. at 482-83. To reach its conclusion, the
20   Court found history suggested a purely verbal censure did not offend the First Amendment.
21   See id. at 477. It also found modern precedent supported classifying a verbal censure,
22   without more, as a non-material adverse action. See id. at 478. On this second point, the
23   Court found plaintiff’s status as an elected official important. See id. As an elected official,
24   the plaintiff in Wilson was “expected to shoulder a degree of criticism about their public
25   service from their constituents and peers.” See id. The Court further stated the plaintiff’s
26   status as an elected official also meant censuring from other board members was itself
27   protected speech. See id.
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 1          The Ninth Circuit Court of Appeals’ precedent aligns with the reasoning provided
 2   in Wilson. See Boquist v. Courtney, 32 F.4th 764, 775 (9th Cir. 2022). In Blair v. Bethel
 3   School District, the court considered whether removing an elected school board member
 4   from their internal position as vice president was an adverse action. See 608 F.3d at 542-43.
 5   The court agreed “the First Amendment doesn’t shield public figures from the
 6   give-and-take of the political process.” See id. at 543. It explained the action being
 7   challenged in Blair was taken in the political arena and “was a rather minor indignity”
 8   when compared against typical adverse action claims. See id. at 543-44. The court
 9   continued “more is fair in electoral politics than in other contexts” when it comes to the
10   First Amendment. See id. at 544-45. And that all board members have a First Amendment
11   interest in “speaking out and voting their conscience on the important issues they confront.”
12   Id. at 545.
13          Although the Court notes Wilson and Blair are not dispositive, it finds their
14   reasoning persuasive in determining whether Rooks has a sufficiently concrete injury to
15   establish post-enforcement standing. See Wilson, 595 U.S. at 482 (“Our case is a narrow
16   one.”). Rooks was not interrupted while reading Bible verses. Instead, the interruptions
17   only came later in her board comments and sometimes were wholly unrelated to Rooks’s
18   recitation of scripture. As an example, during the February 23, 2023, meeting, it was
19   Rooks’s comments about a mental health grant that prompted the Board President to briefly
20   interrupt her about “discussing items that aren’t on the agenda during board comments.”
21   Peoria Unified Governing Board Meeting (February 23, 2023), supra. Only after
22   discussing Arizona’s open meeting requirements did the Board President transition to
23   Rooks’s practice of reciting Bible verses. See id. Similarly, at the April 13, 2023, meeting
24   it was Rooks’s comments about a school safety grant that prompted an interruption from
25   the Board President—again, concerning staying within the agenda. Peoria Unified
26   Governing Board Meeting (April 13, 2023), supra.
27          With this context in mind, the interruptions are detached from Rooks’s core
28   religious speech and seem much closer to the speech at issue in Wilson and Blair. See Blair,


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 1   608 F.3d at 545 n.3 (indicating the speech at issue in Blair was a type of political speech
 2   that did not deserve heightened scrutiny). Both interruptions were premised on Rooks
 3   discussing matters of policy and other board members believing she was doing so outside
 4   of the proper procedure. The interruptions were brief. And the other members even directed
 5   Rooks to appropriate times where the information could be discussed. See Peoria Unified
 6   Governing Board Meeting (April 13, 2023), supra. It is, therefore, hard to see how the
 7   interruptions resulted in “material risk of tangible harm” or resemble a close relationship
 8   to a traditional First Amendment harm. See Phillips, 74 F.4th at 991. Prevailing First
 9   Amendment case law indicates elected officials are not harmed by verbal censures or other
10   forms of protected speech exercised by their peers. See Wilson, 595 U.S. at 482-83; Blair,
11   608 F.3d at 544-45. A brief interruption—which is a noticeably lesser intrusion—would
12   seem to also fail under that standard.
13          Moreover, Rooks cites only a few unconnected cases to support her theory of harm.
14   (See Doc. 41 at 18-19.) Bond stands for the general proposition “retaliatory acts [by]
15   elected officials against their own” based on protected speech is unconstitutional. See 385
16   U.S. at 136-37; Blair, 608 F.3d at 545 n.4. But that does not mean a cognizable injury arises
17   anytime speech is interrupted, as Rooks suggests. Indeed, if Rooks’s argument were taken
18   to its logical end, a politician could sue their political opponent anytime an interruption
19   occurs during political debate. Such a result would upend our democratic process and
20   unravel the separation of powers between the branches.
21          Looking at Rooks’s other cases, Jacobs v. Clark County School District, only
22   concerns the availability of nominal damages as relief for a First Amendment violation.
23   See 526 F.3d, 419, 426 (9th Cir. 2008). And Brodheim v. Cry is inapplicable because Rooks
24   is an elected official who faces a different standard for First Amendment retaliation claims.
25   Compare 584 F.3d 1262, 1270 (9th Cir. 2009) (stating “the mere threat of harm can be an
26   adverse action, regardless of whether it is carried out because the threat itself can have a
27   chilling effect”), with Blair, 608 F.3d at 544 (stating “more is fair in electoral politics than
28   in other contexts”). Rooks’s remaining cases stand for general First Amendment principles


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 1   that do not go to the issue of standing. The Court, therefore, finds none of Rooks’s cases
 2   persuasive. More importantly, the Court also finds that Rooks has failed to meet her burden
 3   of establishing a cognizable injury for her post-enforcement challenge. See Lujan, 504 U.S.
 4   at 561. Without a cognizable injury, Rooks lacks standing to bring any of her claims.
 5   IV.    CONCLUSION
 6          For the reasons stated herein,
 7          IT IS ORDERED denying Plaintiff Rooks’s Motion for Summary Judgment
 8   Motion (Doc. 34).
 9          IT IS FURTHER ORDERED granting Defendant Peoria Unified School District’s
10   Cross-Motion for Summary Judgment (Doc. 38).
11          IT IS FINALLY ORDERED that the Clerk of the Court must enter judgment for
12   Defendant Peoria Unified School District and close this case.
13          Dated this 24th day of January, 2025.
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